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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF OKLAHOMA

1. KYLE HESTER, on behalf of himself              )
   and others similarly situated,                 )
                                                  )
              Plaintiff,                          )
                                                  )
v.                                                )      Case No. CIV-2019- 358-KEW
                                                  )
1. ED F. DAVIS, INC., a/k/a Ed F. Davis of        )      ATTORNEY LIEN CLAIMED
   Oklahoma, Inc.,                                )      JURY TRIAL DEMANDED
                                                  )
              Defendant.                          )

                                      COMPLAINT

       COMES NOW the Plaintiff, on behalf of himself and others similarly situated, pleads

his claims as follows:

                                         PARTIES

1.     The Plaintiff is Kyle Hester, an adult residing in Grayson County, Texas, who brings

       this action on behalf of himself and others similarly situated.

2.     The Defendant is Ed F. Davis, Inc., a/k/a Ed F Davis of Oklahoma, Inc., a domestic

       company doing business in Bryan County, Oklahoma.

                             JURISDICTION AND VENUE

3.     Plaintiff’s claims, made on behalf of himself and others similarly situated, are for

       failure to pay wages, including overtime wages, minimum wages and agreed upon

       wages, in violation of the Oklahoma Protection of Labor Act (OPLA) and the Fair

       Labor Standards Act (FLSA). Jurisdiction over the federal claims is vested pursuant

       to 29 U.S.C. § 216. Jurisdiction over the state law claims is vested under 28 U.S.C.

       § 1367.
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4.    The actions giving rise to the claims of Plaintiff’s and others similarly situated arose

      in Bryan County, Oklahoma, which is a county within the Eastern District of

      Oklahoma. The Defendant may be served in Bryan County. Wherefore, venue is

      proper in this Court under 28 U.S.C. 1391(b).

                               STATEMENT OF FACTS

5.    The Defendant is a distributor of alcoholic and non-alcoholic beverages produced by

      out-of-state companies, including Anheuser-Busch. Defendant maintains warehouses

      in Oklahoma and Texas and has at least five hundred thousand dollars ($500,000) in

      annual gross revenue. Accordingly, Defendant is an employer as defined by the

      FLSA.

6.    The Plaintiff began working for the Defendant around July 3, 2019.

7.    Around January 2019 the Plaintiff was transferred to a job position at Defendant’s

      warehouse where Plaintiff’s job duties primarily consist of fulfilling orders of

      Budweiser beer by locating such product within the warehouse, placing such product

      on pallets and placing wrapping around the pallets, and loading vehicles to deliver

      such product within the state of Oklahoma. Plaintiff is also responsible for

      maintaining the cleanliness of the facility by removing trash and re-packing broken

      cases.

8.    Plaintiff and others similarly situated (hereinafter referred to as “warehouse

      employees”) .

9.    Upon becoming a warehouse employee, the Plaintiff was told by Derek (last name

      unknown) (Supervisor) that his compensation was based on working forty hours per

      week (8 hours per day, Monday through Friday).

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10.    Defendant paid the Plaintiff a flat rate of $1,166.67 each pay period and there were

       two pay periods per calendar month.

11.    The Defendant does not allow warehouse employees to maintain their own records

       of hours worked, including through a time-card or other system provided by

       Defendant.

12.    Rather, the supervisors of Plaintiff and other warehouse employees track the hours

       worked by warehouse employees and during most weeks do not accurately record the

       hours worked by employees.

13.    For instance, Defendant will tell the Plaintiff and other warehouse employees that

       their scheduled shift is from 9 a.m. to 6 p.m., with a one hour break (i.e. an 8 hour

       period of work). However, Defendant will require Plaintiff and other warehouse

       employees to work later than 6 p.m. and sometimes several hours later. Defendant

       will not record the additional hours worked by Plaintiff and other warehouse

       employees, will record only the hours worked between the 8 hour paid work-day, and

       will not pay Plaintiff and other warehouse employees for these additional hours

       worked.

14.    During nearly every week between January 2019 and the present, the Defendant has

       required the Plaintiff to work more than forty (40) hours per week.

15.    The Defendant has refused to pay Plaintiff overtime compensation for any of the

       hours he worked in excess of forty each work-week.

16.    To Plaintiff’s knowledge and belief, the Defendant does not pay other warehouse

       employees overtime even though such employees work more than forty hours during

       most work-weeks.

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17.    Defendant’s failure to overtime compensation to Plaintiff and other warehouse

       employees violates the FLSA, which requires employers to pay employees at least 1.5

       times their regular rate of pay for all hours worked in excess of forty in a work-week.

18.    On several days while working as a warehouse employee, the Defendant failed to pay

       the Plaintiff and other warehouse employees for all hours worked, resulting in these

       employees receiving less than minimum wages for the hours worked. The Plaintiff

       was paid less than minimum wages on multiple days, including around January 9,

       2019, March 25, 2019, June 10, 2019, August 7, 2019 and August 23, 2019.

19.    As a direct result of Defendant’s conduct, the Plaintiff along with others similarly

       situated have suffered damages in the form of wage loss, including overtime benefits.

20.    Failure to maintain accurate records of hours worked by employees, and failure to pay

       overtime and minimum wages violate the Fair Labor Standards Act.

21.    Plaintiff and others similarly situated are entitled to recover their wage loss, including

       unpaid minimum wages, unpaid overtime and unpaid agreed-upon wages, along with

       liquidated damages under both the federal and state law claims.

22.    Because the Defendant’s conduct was willful other warehouse employees are entitled

       to recover wage loss (including overtime and minimum wages) for a period of three

       years prior to the filing of this lawsuit.

                                          COUNT II

       Plaintiff incorporates the above paragraphs and further alleges:

23.    Failure to pay minimum wages and agreed-upon wages violate Oklahoma’s Protection

       of Labor Act.


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24.    Under this Count the Plaintiff and others similarly situated are entitled to recovery of

       their wage loss and an equal amount of liquidated damages.

                      COLLECTIVE/CLASS CERTIFICATION

25.    To Plaintiff’s knowledge, there are at least fifty to one hundred employees in

       Oklahoma who also worked as warehouse employees and performed similar job

       duties as the Plaintiff, but were not paid all wages owed (including overtime and/or

       minimum wages).

26.    Defendant has taken the following actions with respect to Plaintiff and others

       similarly situated employees:

       A.     Failed to maintain accurate records of the hours worked by such employees;

       B.     Failed to pay minimum wages for all hours worked by such employees;

       C.     Failed to pay overtime wages for hours worked by such employees in excess

              of forty in a work-week;

       D.     Failed to pay all wages agreed upon between the Defendant and/or the

              employees.

27.    The actions described above, including in paras. 7-18, constitute violations of the Fair

       Labor Standards Act, 29 U.S.C. §§ 206-07, inter alia, and Oklahoma’s Protection of

       Labor Act, 40 Okla. St. §§ 165.1, et seq.

28.    The Plaintiff, together with other warehouse employees who performed similar job

       duties as the Plaintiff, were victims of a single decision, policy or plan that included

       decisions to not pay Plaintiff and other warehouse employees minimum wages,

       overtime wages and/or agreed-upon wages and failed to maintain accurate records of


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       the hours worked by such employees, in violation of the FLSA and/or OPLA.

29.    The class is specifically knowable to include other employees who worked in the

       Defendant’s warehouses and performed similar job duties the Plaintiff performed as

       a warehouse employee. Such warehouse employees are similarly situated to the

       Plaintiff in that they worked for the same employer, performed the same and/or

       similar job duties as the Plaintiff, were not paid for all wages earned, including

       minimum wages and agreed-upon wages, and worked more than forty hours in one

       or more work-weeks, but were not paid overtime compensation for such hours

       worked.

30.    For these reasons the Plaintiff is entitled to conditional certification of the class under

       the FLSA at this time and, after discovery is substantially complete, to file

       certification of the class under the FLSA and OPLA.

31.    The class is sufficiently numerous that it is impractical to name each member of the

       class individually, such that a class action is the most economical, expeditious and just

       way of managing this claim.

32.    There are questions of law or fact common to the class, including whether the

       employees worked hours and earned wages for which they were not compensated.

33.    Plaintiff, as a class representative, shares the same questions of law and fact with

       other class members and will fairly and adequately protect the interests of the class.

34.    The only factual matter different between the collective plaintiffs would be the

       amount of wages loss and the damages owed.




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                                        PRAYER

       WHEREFORE, Plaintiff, on behalf of himself and other similarly situated, prays that

he be granted judgment in his favor and against the Defendant on claims and that this Court

grant the Plaintiff and others in the class all available compensatory damages, liquidated

damages, pre-and post-judgment interests, costs, attorneys’ fees and any other legal or

equitable relief allowed by law.

       RESPECTFULLY SUBMITTED THIS 25th DAY OF OCTOBER, 2019.

                                         HAMMONS, HURST & ASSOCIATES


                                         s/ Amber L. Hurst
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